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                                                                             CHAPTER 13 PLAN
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                     SOUTHERN DISTRICT OF MISSISSIPPI
                                                                                                              CASE NO.         16-51124

 Debtor Clayton H Mendell                    SS# xxx-xx-5054                                          Median Income       Above           Below
 Joint Debtor Theresa M Mendell              SS# xxx-xx-8166
 Address 122 Gandy Circle Long Beach, MS 39560-0000

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may
be confirmed. The treatment of ALL secured / priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of    60      months, not to be less than 36 months for below median income
debtor(s), or less than 60 months for above median income debtor(s).

(A)          Debtor shall pay $     352.63      per (monthly / semi-monthly / weekly / bi-weekly ) to the Chapter 13
             Trustee. Unless otherwise ordered by the Court, an Order directing payment shall be issued to Debtor’s employer
             at the following address:




(B)          Joint Debtor shall pay $         per (monthly / semi-monthly / weekly / bi-weekly ) to the Chapter 13
             Trustee. Unless otherwise ordered by the Court, an Order directing payment shall be issued to Debtor’s employer
             at the following address:




PRIORITY CREDITORS.
Filed claims that are not disallowed to be paid in full or as ordered by the Court as follows:
Internal Revenue Service:                  $ 0.00                         @ 0.00                                      /month
Mississippi Dept. of Revenue:              $ 0.00                         @ 0.00                                      /month
Other/                                     $ 0.00                         @ 0.00                                      /month

DOMESTIC SUPPORT OBLIGATION DUE TO:
                                                                                        -NONE-
  POST PETITION OBLIGATION: In the amount of $ per month beginning .
 To be paid     direct,           through payroll deduction, or                                   through the plan.
                                                                                             -NONE-
 PRE-PETITION ARREARAGE: In the total amount of $ through shall be paid the amount of $ per month beginning
 To be paid        Direct           through payroll deduction            through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled
below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim filed herein,
subject to the start date for the continuing monthly mortgage payment proposed herein.
 MTG PMTS TO: -NONE-                                 BEGINNING                   @$                  PLAN DIRECT
 MTG ARREARS TO: -NONE-                               THROUGH                     $                 @$                 /MO*
                                                                                           (*Including interest at %)




 Debtor's Initials               CM             Joint Debtor's Initials        TM                       CHAPTER 13 PLAN, PAGE 1 OF 2
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MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
Creditor:         Ditech Financial LLC  Approx. amt. due: $16,812.00                                              Int. Rate:       5.00
Property Address: 122 Gandy Circle Long Are related taxes and/or insurance escrowed                                    Yes               No
                                   Beach, MS 39560
                                   Harrison County

NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s)
under 11 U.S.C. 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge.
Such creditors shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The
portion of the claim not paid as secured shall be treated as a general unsecured claim.
                                                                                                             PAY VALUE
                                                    910*      APPROX.                            INT.            OR AMT.
 CREDITOR'S NAME           COLLATERAL               CLM      AMT. OWED              VALUE       RATE               OWED
 -NONE-                                                                                           %
*The column for "910 CLM" applies to both motor vehicles and "any other thing of value" as used in the "hanging
paragraph" of 11 U.S.C. § 1325

SPECIAL CLAIMANTS including, but not limited to, co-signed debts, abandonment of collateral, direct payments by
Debtor, etc. For all abandoned collateral Debtor will pay $0.00 on the secured portion of the debt. Where the proposal is
for payment, creditor must file a proof of claim to receive proposed payment.
                                                                                                              PROPOSED
 CREDITOR'S NAME                COLLATERAL                               APPROX. AMT. OWED                   TREATMENT
 -NONE-

STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows
(such debts shall not be included in the general unsecured total):

 CREDITOR'S NAME                                    APPROX. AMT. OWED           CONTRACTUAL MO. PMT.        PROPOSED TREATMENT
 -NONE-

SPECIAL PROVISIONS for all payments to be paid through the plan, including, but not limited to, adequate protection
payments:   -NONE-

GENERAL UNSECURED DEBTS totaling approximately $                9,081.39       . Such claims must be timely filed and not
disallowed to receive payment as follows:             IN FULL (100%) or        0      % (percent) MINIMUM, or a total
distribution of $        , with the Trustee to determine the percentage distribution. Those general unsecured claims
not timely filed shall be paid nothing, absent order of the Court.

 Total Attorney Fees Charged $ 3,200.00
 Attorney Fees Previously Paid $ 3,200.00
 Attorney fees to be paid in plan $       0.00

The payment of administrative costs and aforementioned attorney fees are to be paid pursuant to Court order and/or local
rules.

 Automobile Insurance Co/Agent                                                     Attorney for Debtor (Name/Address/Phone # / Email)
                                                                                   Christopher G. Holt 9371
                                                                                   2501 14th Street, Suite 211
                                                                                   P.O. Box 320
                                                                                   Gulfport, MS 39501

 Telephone/Fax                                                                     Telephone/Fax 228-865-7646
                                                                                   Facismile No.  228-868-5475
                                                                                   E-mail Address cgerardholt@gmail.com

 DATE: July 15, 2016                                          DEBTOR'S SIGNATURE         /s/ Clayton H Mendell
                                                              JOINT DEBTOR'S SIGNATURE   /s/ Theresa M Mendell
                                                              ATTORNEY'S SIGNATURE       /s/ Christopher G. Holt



 Effective: October 1, 2011                                                                        CHAPTER 13 PLAN, PAGE 2 OF 2
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